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United States Bankruptcy Court
District of Colorado

ln re 1 1380 SMITH RP LLC Case No.

 

Debtor(s) Chapler 1 1

CORPORATE OWNERSH]P STATEMENT [RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 700?.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for 11380 SMITH RD LLC in the above captioned action, certifies that the following is a
(are) corporation(s}, other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 100'?.1:

l None [Check §fapp!fcab:'e]

February 13, 2018 lsi Jeffrey A. Weinrnan

pate Jef|'rey A. Woinman 7605
Signature ofAttomey or Litigant
Counsel for 11380 SMITH RD LLC
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